   Case: 1:17-md-02804 Doc #: 3702 Filed: 04/21/21 1 of 2. PageID #: 510964




                                     UNITED STATES JUDICIAL PANEL
                                                  on
                                      MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                        (SEE ATTACHED SCHEDULE)



                                 CONDITIONAL TRANSFER ORDER (CTO í191)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 2,122 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


               Apr 21, 2021
                  Apr 21, 2021




                                                      John W. Nichols
                                                      Clerk of the Panel
 Case: 1:17-md-02804 Doc #: 3702 Filed: 04/21/21 2 of 2. PageID #: 510965




IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                              MDL No. 2804



                  SCHEDULE CTOí191 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


NEW MEXICO

                                   Board of County Commissioners of the County of
  NM         1      21í00260       Colfax v. Allergan Finance LLC et al
                                   Board of County Commissioners of The County of
  NM         1      21í00262       Union v. Allergan PLC et al
                                   Board of County Commissioners of the County of Luna
  NM         2      21í00261       v. Allergan PLC et al

TEXAS SOUTHERN

                                   WARREN CLAY STRICKLAND v. PURDUE
  TXS        4      21í01176       PHARMACEURITCAL PRODUCTS, L.P et al
